Case 1:21-cv-09012-DLC Document 41-25 Filed 10/24/22 Page 1 of 3




               EXHIBIT 25
Violence spikes at Rikers Island despite jail population decline            https://nypost.com/2019/09/17/violence-spikes-at-rikers-island-despite-j...
                            Case 1:21-cv-09012-DLC Document 41-25 Filed 10/24/22 Page 2 of 3




            By Julia Marsh                                                                  September 17, 2019       9:19pm     Updated




            Getty Images


                                                                   Violent attacks by inmates against each other and on
                                                                   Department of Correction officers at Rikers Island spiked
                                                                   over the past year even as the jail population dropped,
                                                                   according to new city statistics.
                  Inmate commits suicide at
                  Rikers Island, 17th death in
                  NYC's jail system this year                      The overall “rate of violent incidents among individuals in
                                                                   custody rose by 24.5%, and the rate of serious injury to
                  DOC allegedly cooked books to                    individuals in custody as a result of these incidents rose by
                  hide detainee violations at                      nearly 24%,” according to the mayor’s annual
                  Rikers Island
                                                                   Management Report released Tuesday

2 of 9                                                                                                                           10/24/2022, 1:18 PM
Violence spikes at Rikers Island despite jail population decline            https://nypost.com/2019/09/17/violence-spikes-at-rikers-island-despite-j...
                            Case 1:21-cv-09012-DLC Document 41-25 Filed 10/24/22 Page 3 of 3
                                                     Management Report released Tuesday.

                  Ex-NBA player punched kid in                     Slashing and stabbings jumped by 10.4%. Assaults
                  face 'multiple times' after he
                  dropped book: court docs                         against staff also rose 3.4% percent, leading to a
                                                                   staggering 37% increase in serious injuries to Department
                  Ex-NYPD honcho, judge                            of Correction officers, the report found.
                  challenges Melinda Katz for
                  Queens DA                                        “There’s really little to no consequence to the inmate for
                                                                   fighting or for bad behavior,” Joseph Russo, president of
                                                                   the Deputy Wardens Association, told The Post.

            “So the inmate is not concerned about that when he has a fight with another inmate or assaults staff,”
            Russo said.

            The report, authored DOC Commissioner Cynthia Braun, attributes the rise in violence to the declining
            inmate population that’s part of de Blasio’s plan to close Rikers by 2027.

            “As the Department’s overall population has declined, DOC is managing a population made up of
            individuals with more serious offenses,” she says in the report.

            “From Fiscal 2018 to Fiscal 2019, the percentage of the population with confirmed gang affiliation rose
            from 15.4 percent to 16.4 percent.”

            Th city’s average daily jail population dipped below 8,000 for the first time last year since 1980.

            A DOC spokesman said: “Safety is our top priority, and as the jail population continues to fall, we are
            now managing population of people charged with more serious offenses.”

            The spokesman added, “We recently expanded body cameras to all officers at the George R. Vierno
            Center on Rikers Island, and we will continue to implement initiatives like these to increase safety.”


                                  BILL DE BLASIO, DEPARTMENT OF CORRECTIONS, RIKERS ISLAND, VIOLENCE, 9/17/19




                                  Manhattan parents sue Juul for hooking their teen on nicot...




3 of 9                                                                                                                           10/24/2022, 1:18 PM
